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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA

                                      WESTERN DIVISION


SIMON ZAIDMAN,                                                   5:24-CV-05077-RAL


                        Plaintiff,

                                                       ORDER RESCHEDULING TELEPHONIC
        vs.                                                    STATUS HEARING

MOLLY PENTON-ZAIDMAN,

                        Defendant.




       After consultation with the parties, it is


       ORDERED that the telephonic status hearing set for February 5, 2025, is rescheduled to


February 6, 2025, at 1:00 p.m. Central Time.


       DATED this 3rd day of February, 2025.

                                               BY THE COURT:




                                               ROBERTO A. LAN
                                               CHIEF JUDGE
